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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                     )
ANCIENT COIN COLLECTORS GUILD, et al.,               )
                                                     )
               Plaintiffs,                           )
                                                     )
       v.                                            )       Civil Action No. 07-2074 (RJL)
                                                     )
UNITED STATES DEPARTMENT OF STATE,                   )
                                                     )
               Defendant.                            )
                                                     )

                                        [PROPOSED] ORDER

       UPON CONSIDERATION of the Defendant’s unopposed motion for an enlargement of

the existing schedule governing this action, and for good cause shown, it is hereby:

       ORDERED that the unopposed motion is GRANTED;

       ORDERED that Defendant shall have through, and including, March 13, 2009, to file a

dispositive motion and final Vaughn index;

       ORDERED that Plaintiffs shall have through, and including, April 10, 2009, to file any

opposition thereto; and it is further

       ORDERED that Defendant shall through, and including, May 1, 2009, for reply on such

dispositive motion.



SIGNED:



________________                                     ___________________________________
Date                                                 RICHARD J. LEON
                                                     United States District Judge
